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 17
 18                     UNITED STATES DISTRICT COURT

 19         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 20   SONOS, INC.,                                    Case No. 2:20-cv-00169-JAK (DFMx)
 21                    Plaintiff,                     PLAINTIFF’S OPPOSITION TO
            v.                                        DEFENDANT’S MOTION FOR
 22                                                   LEAVE TO AMEND ANSWER
      GOOGLE LLC,                                     AND COUNTERCLAIMS
 23
                       Defendant.                     Hearing Date: June 2, 2025
 24
                                                      Hearing Time: 8:30 a.m.
 25                                                   Courtroom: 10B
                                                      Judge: Hon. John A. Kronstadt
 26
 27                                                   Complaint Filed: Jan. 7, 2020
                                                      Trial Date: TBD
 28

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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         With the stay lifted and Markman proceedings imminent, Google seeks to
  4   inject two of its patents into this case, in addition to the ten Sonos patents already at
  5   issue. Google’s proposed amendment will unduly prejudice Sonos by forcing Sonos
  6   to defend against claims from the same patent family in multiple jurisdictions, while
  7   creating a substantial risk of conflicting judgments, jury confusion, and disrupting
  8   the case schedule.
  9         Google has moved to add claims alleging that Sonos infringes U.S. Patent Nos.
 10   12,132,608 and 9,485,790 (Google Setup Patents). Both of these patents relate to the
 11   process of setting up a wireless device on a network. And both patents are part of
 12   the same family as (and highly similar to) a patent that Google is asserting against
 13   Sonos in the Northern District of California. Google’s desire to have two different
 14   judges review the same material simultaneously is improper and shows that Google’s
 15   assertion of these patents is an effort to gum up the works. And both the International
 16   Trade Commission (ITC) and the Patent Trial and Appeal Board (PTAB) have
 17   already found that highly similar claims in Google’s related patent are invalid. Put
 18   differently, this is more than Google’s second bite at the apple; it is the fourth and
 19   Google is taking it while the third is pending elsewhere. The Court should deny
 20   Google’s Motion.
 21   II.   BACKGROUND
 22         Sonos’s Suit Against Google
 23         On January 7, 2020, Sonos sued Google, alleging that various Google products
 24   infringe five Sonos patents related to wireless multi-room audio systems. The
 25   originally asserted patents were U.S. Patent Nos. 8,588,949; 9,195,258; 9,219,959;
 26   10,209,953; and 10,439,896. Dkt. 1. Sonos then sued Google in the ITC, which
 27   instituted an investigation into whether Google’s products infringe those same
 28   patents. Dkt. 68 (SAC) ¶ 53. This Court, as required by statute, stayed this action

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  1   until the ITC issued its final determination. See Dkt. 26; Dkt. 30. Because the ITC
  2   initiated its investigation as the Covid-19 pandemic was starting, the investigation
  3   proceeded on an extended schedule. Eventually, however the ITC found that all of
  4   Sonos’s asserted patents were both valid and infringed—in a decision the Federal
  5   Circuit later upheld. Sonos, Inc. v. Int’l Trade Comm’n, Nos. 22-1421, -1573, 2024
  6   WL 1507605 (Fed. Cir. Apr. 8, 2024). However, the ITC investigation did not result
  7   in an effective exclusion order because Google removed some of the infringing
  8   features and developed “redesigned” versions for the others. SAC ¶ 57.
  9         Google’s Other Suits Against Sonos
 10         Since January 2020, Google has sued Sonos for patent infringement eight
 11   times in various countries around the world, asserting over a dozen patents. Sonos
 12   has been found not liable as to every single claim of every single patent Google has
 13   asserted to date—and every claim that Google has not been forced to withdraw has
 14   been found invalid or not infringed.1
 15         Most relevant to this Motion, Google sued Sonos in both the ITC and in the
 16   Northern District of California alleging that Sonos infringed Google’s Patent No.
 17   11,050,615. That patent is a family member of the patents that Google is seeking to
 18   add here, and its claims are directed to the same subject matter. After the ITC found
 19   that all asserted claims of the ’615 Patent were invalid, Google chose not to appeal
 20   the decision to the Federal Circuit—presumably because Google knew that the
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      1
        Google accused Sonos of infringing five patents in the Northern District of
 22   California. One patent was dismissed under §101, one was voluntarily dismissed,
 23   two were invalidated in IPRs, and the fifth was found to be not infringed on summary
      judgment. Google sued Sonos in Canada for patent infringement. The Canadian
 24   court found that Sonos did not infringe. Google sued Sonos in Germany for patent
      infringement. The German court found that Sonos did not infringe. Google sued
 25   Sonos in France for patent infringement. The French court found that Sonos did not
 26   infringe. Google sued Sonos in the ITC and the Northern District of California for
      infringing three patents. One patent was withdrawn from the ITC case, and the ITC
 27   found no violation with respect to the others. Google sued Sonos in the ITC and the
      Northern District of California on a different set of four patents (including the ’615
 28   Patent). The ITC found no violation of any of those patents.
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  1   Federal Circuit would uphold that decision, and because Google wanted to continue
  2   to sue Sonos on that patent in Northern California (which is what it has done).
  3         While Google’s ITC investigation was pending, Sonos filed an inter partes
  4   review (IPR) petition against the ’615 Patent. See Sonos, Inc. v. Google LLC,
  5   IPR2023-00806, Petition (P.T.A.B. Apr. 5, 2023). The PTAB instituted review of all
  6   challenged claims.     Sonos, Inc. v. Google LLC, IPR2023-00806, Paper No. 7
  7   (P.T.A.B. Nov. 7, 2023). Google chose not to defend most of the claims and those
  8   claims have been invalidated. Sonos, Inc. v. Google LLC, IPR2023-00806, Google’s
  9   Response (P.T.A.B. Jan. 30, 2024) (defending only a subset of dependent claims).
 10         The PTAB found all but four dependent claims of the ’615 Patent invalid.
 11   Sonos, Inc. v. Google LLC, IPR2023-00806, Paper No. 20 (P.T.A.B. Nov. 1, 2024).
 12   Sonos has appealed the PTAB’s decision regarding those four dependent claims, and
 13   that appeal remains pending. Sonos, Inc. v. Google LLC, No. 25-1338 (Fed. Cir.).
 14         Google’s case against Sonos in the Northern District of California asserting
 15   the ’615 Patent is also still pending. See Google LLC v. Sonos, Inc., No. 5:22-cv-
 16   04553 (N.D. Cal.). The Northern District of California case was stayed before Sonos
 17   filed an answer because of Google’s concurrent ITC litigation, id., Dkt. 22, and
 18   Google and Sonos have jointly notified the Northern District of California that the
 19   ITC proceedings have concluded and “propose[d] having a teleconference with the
 20   Court to discuss” the status of the stay, id., Dkt. 25.
 21         Pretrial Deadlines and Google’s Motion
 22         On January 21, 2025, this Court ordered the parties to meet and confer
 23   regarding a pretrial schedule. Dkt. 72. On February 10, 2025, Sonos and Google
 24   jointly proposed a pretrial schedule. Dkt. 73. On March 11, 2025, the Court set
 25   various deadlines, including a May 5, 2025 deadline to amend, May 2025 deadlines
 26   related to claim construction, a June 19, 2025 cut-off for claim construction
 27   discovery, a June 26, 2025 deadline for a joint Markman prehearing statement, and a
 28   July 3, 2025 deadline for opening Markman briefs. See Dkt. 77. Throughout the
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  1   negotiation over the schedule, Google never expressed any intent to amend its answer
  2   and introduce new patents into this case.
  3         Then, on April 25, 2025, Google emailed Sonos, asking if Sonos would oppose
  4   Google moving to add new patents to the case. Dkt. 79-4, Ex. 7. On April 28, 2025,
  5   Sonos said it would oppose but offered to “discuss” the matter further. Id. Sonos
  6   heard nothing further, until, on May 5, 2025, Google filed its Motion. Dkt. 79 (Mot.).
  7         Google’s Two New Patents
  8         The two new Google Setup Patents are from the same family as the ’615
  9   Patent, which Google has asserted against Sonos in multiple fora. Mot. 5; supra 2-3
 10   & n.1. The ’615 Patent claims are also substantively similar to the claims that Google
 11   seeks to assert here. In fact, all three of these patents are subject to the same terminal
 12   disclaimer which the Patent Office requires where it is needed to “align the expiration
 13   dates of an inventor’s several patents that claim mere obvious variations of the same
 14   invention.” See Gilead Scis., Inc. v. Natco Pharma Ltd., 753 F.3d 1208, 1214 (Fed.
 15   Cir. 2014); Ex. A (terminal disclaimers for all three patents).
 16         As an example of the similarity, consider claim 1 of all three patents. All three
 17   claim 1s are directed to “[a] method for commissioning a target device onto a
 18   communication network.” Ex. B (’615 Patent), cl. 1; see also Dkt. 79-4, Ex. 4 (’608
 19   Patent), cl. 1 (“the target streaming media device including” certain components);
 20   Ex. C (’790 Patent), cl. 1 (“onto a wireless local area network”). And all three
 21   claimed methods involve “receiving … a message to initiate a commissioning
 22   process,” “receiving one or more network configuration packets,” “executing the
 23   commissioning logic,” and “employing via the wireless radio the network
 24   configuration data.” ’608 Patent, cl. 1; see also ’615 Patent, cl. 1; ’790 Patent, cl. 1;
 25   Ex. D (comparing representative claim language). The three patents also share the
 26   same inventors and a common specification. And the products that Google accuses
 27   of infringement here overlap with those at issue in the ’615 Patent litigation.
 28   Compare Mot. 7-8 (accusing Sonos One, One SL, Move, Roam, Five, Arc, Beam,
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   1   and Ray of infringing), with Ex. E (Google’s complaint in the concurrent Northern
   2   District of California litigation) at 4 (same). By any measure, the claims that Google
   3   seeks to add to this case are highly similar to (and largely duplicative of) the claims
   4   it is asserting in the Northern District of California.
   5   III.   LEGAL STANDARD
   6          Google may amend its answer and add counterclaims only if this Court grants
   7   it leave to do so. Fed. R. Civ. Proc. 15(a). Although the Court “should freely give
   8   leave when justice so requires,” id., “leave to amend is not to be granted
   9   automatically,” Jackson v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990). The
 10    Court considers five factors in determining whether to grant leave to amend: “(1) bad
 11    faith, (2) undue delay, (3) prejudice to the opposing party, (4) futility of amendment,
 12    and (5) whether [the party] has previously amended his [pleading].” In re W. States
 13    Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 738 (9th Cir. 2013). Whether to
 14    grant leave to amend lies within this Court’s discretion. See Ascon Props., Inc. v.
 15    Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989).
 16    IV.    ARGUMENT
 17           A.    The Court Should Deny Leave To Add Counterclaims.
 18           Google’s attempt to add counterclaims is a tactical decision designed to
 19    interfere with Sonos’s infringement case by multiplying the issues in dispute and
 20    jamming up the schedule. Given that a similar case is already pending in the Northern
 21    District of California, it would be enormously wasteful of judicial and party resources
 22    to litigate those issues here.
 23                 1.     Google’s amendment will unduly prejudice Sonos.
 24           Prejudice is the “most important factor” in deciding whether to grant or deny
 25    leave to amend a pleading.         Jackson, 902 F.2d at 1387.           Google’s proposed
 26    amendment will lead to prejudice in the forms of (i) undue complexity and the
 27    attendant risks of inconsistent judgments and jury confusion, (ii) interference with
 28    Sonos’s case, (iii) avoidable waste of judicial and party resources, and (iv) disruption
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   1   to the case’s schedule. This undue prejudice alone warrants denial of Google’s
   2   Motion. See Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir.
   3   2003).
   4         Undue complication. Google’s proposed amendment seeks to add patents and
   5   infringement counterclaims to this case, notwithstanding co-pending litigation
   6   between Google and Sonos that already involves a related patent and similar
   7   allegations.     In other words, Google seeks to transform this case from a
   8   straightforward dispute between a patentee and an alleged infringer into a much more
   9   complex set of infringement claims flowing in both directions. This will inject a
 10    myriad of new issues into this case and create both a substantial likelihood of jury
 11    confusion and a significant risk of conflicting judgments.                  Google offers no
 12    justification for such undue prejudice.
 13          Because Google’s proposed counterclaims are permissive, not compulsory, the
 14    Court can and should “refuse to hear the counterclaim[s]” as they “would unduly
 15    complicate the litigation.” R Journey, LLC v. Kampgrounds of Am., Inc., No. CV 22-
 16    48, 2023 WL 2373352, at *13 (D. Mont. Mar. 6, 2023) (“[I]f the Court finds a
 17    counterclaim is permissive, then the Court can refuse to hear the counterclaim if it
 18    would unduly complicate the litigation.”); see Liberty Hardware Mfg. Corp. v.
 19    Contractors Wardrobe, Inc., No. 2:22-cv-09210, 2023 WL 9379150, at *3-4 (C.D.
 20    Cal. Nov. 27, 2023) (patent infringement counterclaims are permissive).
 21          In this District, and around the country, courts regularly dismiss, sever, or
 22    decline to add permissive infringement counterclaims for this very reason. See, e.g.,
 23    Xyratex Tech., Ltd. v. Teradyne, Inc., No. CV 08-04545, 2009 WL 10702551, at *4
 24    (C.D. Cal. Apr. 10, 2009) (denying motion to amend and add patent infringement
 25    counterclaims); Magnesystems, Inc. v. Nikken, Inc., 933 F. Supp. 944, 952-53 (C.D.
 26    Cal. 1996) (same); Metallgesellschaft AG v. Foster Wheeler Energy Corp., 143
 27    F.R.D. 553, 559 (D. Del. 1992) (“[T]he joint adjudication of MG’s patent claims and
 28    FWEC’s patent claims would unduly complicate the intrinsically complex factual
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   1   and legal issues at bar; judicial economies can be accomplished without litigating all
   2   of the disputes between these parties in one action.”).
   3         Even without Google’s proposed amendment, this is a complex case. Sonos
   4   has sued Google on ten patents. Dkt. 68. Google has denied infringement on all
   5   fronts, raised thirteen affirmative defenses, and challenged the validity of every
   6   asserted claim. Dkt. 69. At trial, the jury will have a very full plate in terms of
   7   analyzing the patents, claims, technology, and legal disputes that are already at issue.
   8         Adding Google’s patent claims will add many additional layers of complexity
   9   and risk confusion of the jury. As the District of Maryland explained, even where
 10    separate patents share “a common field of concern,” “different patent claims
 11    necessarily involve different issues,” e.g., “separate patent claims and specifications,
 12    separate file histories, and separate affirmative defenses.” CVI/Beta Ventures, Inc.
 13    v. Custom Optical Frames, Inc., 896 F. Supp. 505, 506-07 (D. Maryland 1995).
 14    Contrary to Google’s argument, this additional complexity is not meaningfully
 15    mitigated by the fact that “the subject matter of the Google Setup Patents
 16    substantially overlaps with the subject matter of” two of the ten Sonos patents. Mot.
 17    8. As other courts have recognized, “[s]uch commonality,” to the extent that it
 18    withstands scrutiny at all, “is far outweighed by the potential for jury confusion.”
 19    CVI/Beta Ventures, 896 F. Supp. at 506-07 (emphasis added).2 Indeed, it is that
 20    commonality that guarantees jury confusion here. For example, Google describes its
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       2
         Accord Ex. F (transcript from motion-to-dismiss counterclaims hearing in Comcast
 22    IP Holdings I, LLC v. Sprint Commc’ns Co. L.P., No. 12-cv-00205) at 5:5-9, 6:11-
 23    13 (“I’m quickly becoming convinced that you can’t at the end of the day have a trial
       with one side saying here are my … patents and here’s the other side saying here are
 24    my … patents.”); Magnesystems, 933 F. Supp. at 952-53 (declining to add patent
       infringement counterclaims “[b]ecause of the high risk of jury confusion”); Ex. G
 25    (transcript from severance hearing in LG Electronics, Inc. v. Toshiba Samsung
 26    Storage Tech. Korea Corp., No. 12-1063) at 22:3-8 (declining to add patent
       infringement counterclaims; then-district court Judge Stark: “[I]t is just too easy to
 27    see how at every step of this case[,] things will be more complicated and therefore
       probably proceed more slowly if I have what are effectively two cases … combined
 28    into one case.”).
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   1   counterclaims as “substantially overlap[ping] and, indeed, mirror[ing] Sonos’s
   2   claims.” Mot. 7. Based on the supposed “overlap” between Sonos’s and Google’s
   3   infringement claims, the jury may (incorrectly) conclude that Google cannot have
   4   infringed Sonos’s patents if it concludes Sonos did not infringe Google’s. Or it may
   5   invite a similar fallacy that if Google infringed Sonos’s patents, Sonos must have
   6   done the same with respect to Google’s patents. Simply put, adding Google’s
   7   counterclaims will greatly increase the risk of jury confusion.
   8         If Google is permitted to add its patents to this case, Sonos also will be
   9   obligated to respond with its own defenses, including non-infringement, invalidity,
 10    and unenforceability challenges. Sonos’s responsive case will require separate and
 11    additional discovery, motions, and claim construction disputes that will create
 12    additional complexity. See CVI/Beta Ventures, 896 F. Supp. at 506 (describing how
 13    even though asserted patents and counter-asserted patents may relate to similar
 14    technology or implicate similar inquiries, resolution of infringement counterclaims
 15    would still materially alter the cases, e.g., “involv[ing] analysis of different file
 16    histories, specifications, inventors, and possibly different expert witnesses”).3
 17          The cases on which Google relies do not support permitting counterclaims
 18    under these circumstances. In the cases that Google cites, the courts permitted parties
 19    who were already asserting infringement to amend and assert additional patents
 20    related to the patents that were already in the case—i.e., courts permitted parties
 21    already asserting infringement claims to add related infringement claims. See
 22
       3
 23     Accord Salomon S.A. v. Scott USA Ltd. P’ship, 117 F.R.D. 320, 321 (D. Mass. 1987)
       (discussing how even though various patents “all … relate to the manufacture and
 24    sale of the same line of ski boots,” the “different patent claims necessarily involve
       different issues of novelty”); General Tire & Rubber Co. v. Jefferson Chem. Co., 50
 25    F.R.D. 112, 114 (S.D.N.Y. 1970) (“The Frost patent counterclaim involves a claim
 26    for relief independent of and separate and distinct from the complaint and
       counterclaim on the Heiss patent. The two patents do not appear to be related. While
 27    both are concerned with the broad field of polyurethane chemistry, the inventions,
       the dates of invention, the inventors, places of invention and the ownership are all
 28    different.” (emphasis added)).
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   1   Ziptronix, Inc. v. Omnivision Techs., Inc., No. C 10-05525, 2012 WL 3155554, at *5
   2   (N.D. Cal. Aug. 2, 2012) (permitting plaintiff to amend its complaint and “add three
   3   patents to [the] lawsuit that are related to the patents already at issue in [the case] …”
   4   (emphasis added)); Pavemetrics Sys., Inc. v. Tetra Tech., Inc., No. 21-cv-01289, 2021
   5   WL 4776361, at *1, 4 (C.D. Cal. Aug. 23, 2021) (granting defendant’s amendment
   6   “to include an additional counterclaim of patent infringement” in order to “keep[] the
   7   related ’257 Patent and ’557 Patent in the same case” (emphasis added)). Unlike the
   8   parties in these cases, Google is not currently accusing Sonos of infringement and
   9   therefore not seeking to add patents similar to those it is already asserting. These
 10    cases do not suggest that it would be prudent for the Court to permit Google to thrust
 11    new patents into the middle of a sizable, complicated case that is already in progress.
 12    If anything, Google’s cases support adding its claims to the pending case in the
 13    Northern District of California, where it is asserting a related patent.
 14          Google’s attempt to split infringement allegations for one patent family across
 15    two cases also creates additional work and complexity for the courts. If Google’s
 16    counterclaims are added to this case, this Court will end up duplicating work that
 17    must already be done by the court in the Northern District of California. See Adams
 18    v. Easley, No. CIV S-11-0913, 2011 WL 5103087, at *4 (E.D. Cal. Oct. 25, 2011)
 19    (denying leave to amend based on prejudice where party movant was “already
 20    litigating the exact same claims in a different suit” and “further amendment will be
 21    futile due to the duplicative nature of this case”). Both courts, for example, will need
 22    to study the same specification and file history, review and construe the same or
 23    similar terms, and decide similar legal and factual issues—like how the same pieces
 24    of prior art stack up against highly similar claims. This not only creates totally
 25    unnecessary work for the court system as a whole, but also poses an entirely
 26    avoidable risk of inconsistent decisions. See Salomon, S.A., 117 F.R.D. at 321
 27    (severing and staying infringement counterclaims where other ongoing cases related
 28    to the same patents was underway because “it would be duplicative, uneconomical,
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   1   and vexatious to proceed”).
   2         Disruption to Sonos’s case. Google’s proposed amendment is an attempt to
   3   disrupt Sonos’s case. Google knows that the number of resources available to
   4   adjudicate any given case are finite. Courts will generally hear a limited number of
   5   terms for construction, allocate a limited number of pages for motion practice, and
   6   allow a limited number of days for trial. By adding two patents and infringement
   7   counterclaims to the case, Google seeks to interfere with Sonos’s ability to present
   8   its case. Put differently, the reason Google is bringing these patents here (rather than
   9   with its related patent in the Northern District of California) is because Google thinks
 10    it is strategically advantageous to use these patents to disrupt Sonos’s case, and not
 11    because Google thinks this District is a more convenient place to litigate or a more
 12    efficient place to adjudicate these patents. See Wood v. Santa Barbara Chamber of
 13    Commerce, Inc., 705 F.2d 1515, 1520 (9th Cir. 1983) (“The bad faith of Wood in
 14    offering his motion to amend can be inferred from” the fact that the proposed claims
 15    “were already present in … then pending” litigation); see also Unispec Development
 16    Corp. v. Harwood K. Smith & Partners, 124 F.R.D. 211, 217 (D. Ariz. 1988)
 17    (denying leave to amend to add a counterclaim that presented “an entirely new issue
 18    in the proceedings and shifts the focus” of litigation).
 19          As the facts recited above show, Google has a history of asserting weak patent
 20    claims against Sonos in a way designed to impose maximum cost and disruption (e.g.,
 21    simultaneous international suits and repeatedly litigating the same patent even after
 22    multiple losses). Supra 2-3 & n.1. The Court should not allow Google to continue to
 23    abuse the system with duplicative litigation or to disrupt Sonos’s case by bringing
 24    these patent claims here, when those claims clearly belong with the related ’615
 25    Patent in the Northern District of California.
 26          Avoidable waste. Google’s proposed amendment is also prejudicial to Sonos
 27    because of the significant potential for waste of Sonos’s resources.
 28          The new infringement counterclaims and patents that Google proposes would
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   1   “greatly alter[] the nature of the litigation” and would require Sonos to
   2   “undertake[] … an entirely new course of defense.” Morongo Band of Mission
   3   Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990); see also AmerisourceBergen
   4   Corp. v. Dialysist W., Inc., 465 F.3d 946, 953 (9th Cir. 2006) (“Allowing [a party] to
   5   ‘advance different legal theories and require proof of different facts’ … would have
   6   prejudiced [the non-movant] ….”). Sonos will need to develop its defense on an
   7   expedited basis, because Google (again, tactically) waited to add its counterclaims
   8   until just before Markman proceedings begin. Infra 12. See AmerisourceBergen
   9   Corp., 465 F.3d at 953 (“[R]equiring the parties to scramble and attempt to ascertain
 10    [the merits of the amendment] … would … unfairly impose[] potentially high,
 11    additional litigation costs … that could have easily been avoided.”).
 12          These costs will also be multiplied by Google’s insistence on asserting these
 13    claims here, rather than in the litigation involving the ’615 Patent in the Northern
 14    District of California. See John-Reif v. Gray, No. 24-cv-1346, 2025 WL 986137, at
 15    *3 (E.D. Cal. Apr. 2, 2025) (denying leave to amend because pleading is “duplicative
 16    of an earlier filed, ongoing lawsuit” and the more appropriate course of action is
 17    seeking leave to amend in the “earlier filed case”); Cohen v. Suleminian, No. 21-cv-
 18    08597, 2024 WL 5440827, at *5 (C.D. Cal. Dec. 17, 2024) (recognizing “the hardship
 19    of litigating duplicative actions simultaneously”). To be sure, Sonos will have to
 20    spend money defending these claims. But while that is inevitable for Sonos, doing
 21    so in duplicate and in parallel is not. Taking depositions of the same witnesses in
 22    multiple cases, filing and defending the same or parallel discovery disputes and
 23    motion practice, and doubled efforts are all unnecessary and prejudicial to Sonos.
 24          Disruption to case schedule. Google’s amendment also unduly prejudices
 25    Sonos because it would disrupt the pretrial schedule set by the Court. Among other
 26    things, Sonos will have to develop non-infringement and affirmative defenses to
 27    Google’s claims. Infra 8. As a result, the current pretrial deadlines will need to be
 28    delayed and amended to account for that significant change. Google itself has already
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   1   asserted that “granting leave … would likely require a modification of the Court’s …
   2   deadlines.” Mot. 11. Granting Google’s Motion will be akin to starting over with an
   3   entirely new infringement action added here, putting this case back to square one and
   4   causing a protracted delay and cost on Sonos.
   5         That prejudice is even more clear in light of the unusually long time that this
   6   case has been pending, for reasons outside of the parties’ control. Sonos filed suit in
   7   2020, but because of concurrent ITC litigation and proceedings protracted by a global
   8   pandemic, this case remained on hold for four years. Infra 1-2. Now, this case is
   9   resuming. But Google waited until after this Court set a case schedule and until
 10    Markman proceedings were beginning to say that it wanted to assert counterclaims.
 11          The scheduling disruption could have been avoided if Google had raised its
 12    counterclaims earlier, or even said that it was considering counterclaims when
 13    negotiating the case schedule. Instead, Google waited until the last permissible day
 14    under the schedule to amend its answer and offers no compelling explanation for that
 15    delay. It offers no new factual discovery or change in circumstance. Nor are the
 16    patents themselves new—the ’790 Patent issued in 2016, approximately 8 years
 17    before the operative complaint, while the ’608 Patent issued in October 2024. Mot.
 18    13. Google offers no explanation for why its “diligent review of the patents and
 19    counterclaims at issue,” Mot. 2, delayed its proposed amendment. See Dkt. 69
 20    (Google’s Answer to the Second Amended Complaint, filed on December 23, 2024);
 21    Mot. (filed May 5, 2025).
 22                 2.     Google’s amendment is futile.
 23          “[W]hen the amendment is considered futile, this Circuit has expressly held
 24    that such amendments ‘should not be permitted.’” Freedom Gold USA LLC v. Bank
 25    of Am., 2025 WL 1012300, at *1 (C.D. Cal. 2025) (citation omitted). A proposed
 26    amendment is deemed futile “if no set of facts can be proved under the amendment
 27    to the pleadings that would constitute a valid and sufficient claim or defense.” Id.
 28    (citation omitted); Hooper v. Shinn, 985 F.3d 594, 622 (9th Cir. 2021) (“Amendment
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   1   is futile if the claim sought to be added is not viable.”).
   2         As explained above, supra 2-4 & n.1, the claims that Google seeks to assert
   3   here are similar to claims of the ’615 Patent that have already been invalidated in
   4   multiple fora. See also Ex. D. In each litigation where a patent from this patent
   5   family was at issue and an outcome was reached, each adjudicator held in Sonos’s
   6   favor. See supra 2 & n.1. For example, in Certain Audio Players and Components
   7   Thereof (II), Inv. No. 337-TA-1330, the ITC determined that the ’615 Patent claims
   8   were invalid. See Mot. 5. Likewise, in the IPR of the ’615 Patent, Google opted not
   9   to defend the majority of the challenged claims, and the PTAB held unpatentable all
 10    but four dependent claims. Supra 3. Google has not appealed the PTAB’s decision.
 11    But the invalidated claims are materially indistinguishable from claims advanced in
 12    Google’s proposed counterclaims.
 13          In light of the pattern of failed litigation, Google is well aware that the claims
 14    it seeks to inject into this case are weak at best. The Court should therefore deny
 15    Google’s motion rather than “forc[e]” Sonos “to defend” itself, again, against such
 16    “weak claim[s].” Alzheimer’s Inst. of Am. v. Elan Corp. PLC, 274 F.R.D. 272, 276
 17    (N.D. Cal. 2011) (denying leave to add infringement counterclaims).
 18                 3.     Google’s amendment is sought in bad faith.
 19          The Court should also reject Google’s request to amend as gamesmanship.
 20    Google’s purported good-faith bases for asserting these claims in this case are belied
 21    by the ongoing concurrent litigation involving the ’615 Patent. The thrust of
 22    Google’s argument is that “judicial efficiency strongly favors granting leave to add
 23    these counterclaims to this action rather than requiring Google to file a new action,
 24    go[] through a separate discovery process, and then forc[e] a jury to sit through a
 25    separate trial” because of the supposed “overlap” between a small portion of Sonos’s
 26    asserted patents and the Google Setup Patents. Mot. 8.
 27          But the only way to even entertain that it may be more judicially efficient to
 28    adjudicate the Google Setup Patent claims here is by ignoring the existence of the
                                                  - 13 -              Case No. 2:20-cv-00169-JAK (DFMx)
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   1   Northern District of California litigation. That case already involves a related patent,
   2   is still in early stages, and is ripe for Google to add its claims. And Sonos represents
   3   here that if Google seeks to add these patents to that case, Sonos will not oppose the
   4   amendment. Accordingly, cramming the Google Setup Patents into this case only
   5   undermines judicial efficiency.
   6         Because Google’s judicial efficiency position makes no sense, the obvious
   7   alternative explanation is that Google’s amendment is tactical—i.e., Google is acting
   8   because it wants the confusion and disruption that the counterclaims will cause.
   9   Supra 5-13. For example, Google’s efforts to add new patents and infringement
 10    counterclaims on the eve of Markman proceedings is clearly an effort to disrupt this
 11    case. Google cannot credibly say that it just discovered this patent family or that its
 12    delay was a result of taking time to gather the information it needed about Sonos’s
 13    products. No, this delay was something Google did to leave Sonos with no time to
 14    prepare for the upcoming Markman-related deadlines and to force Sonos to either
 15    delay its own claims further or proceed without adequate preparation. See U.S. ex
 16    rel. Technica LLC v. Carolina Cas. Ins. Co., No. 08-CV-01673, 2012 WL 1672580,
 17    at *3 (S.D. Cal. May 14, 2012) (“The longer the delay in seeking leave to amend, the
 18    greater the risk that leave will be denied because of prejudice to the opposing party
 19    or other factors.” (quoting William W. Schwarzer, et al., Federal Civil Procedure
 20    Before Trial 8:1470 (The Rutter Group 2011))).
 21          The fact that Google’s motivation is improper is also evident from the fact that
 22    Google’s claims are materially identical to those that it has previously asserted, lost,
 23    and conceded to be invalid. See Griggs v. Pace Am. Grp., Inc., 170 F.3d 877, 881
 24    (9th Cir. 1999) (explaining that bad faith justifies rejecting leave to amend when a
 25    party seeks to add “new but baseless legal theories”).
 26          B.     Google’s Motion Is Procedurally Improper.
 27          The Central District of California Local Rule 7-3 requires, with limited
 28    exceptions not applicable here, that “counsel contemplating the filing of any motion
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   1   must first contact opposing counsel to discuss thoroughly, preferably in person, the
   2   substance of the contemplated motion and any potential resolution.” C.D. Cal. L. R.
   3   7-3. The Court’s Standing Order also so requires, and provides that counsel must
   4   “discuss the issues to a sufficient degree that if a motion is still necessary, the briefing
   5   may be directed to those substantive issues requiring resolution by the Court.
   6   Counsel should resolve minor procedural or other non-substantive matters during the
   7   conference.” Initial Standing Order for Civil Cases Assigned to Judge John A.
   8   Kronstadt, 9.c. The purpose of these obligations is to promote judicial efficiency,
   9   but because Google has not complied with the requirements, the Court must now hear
 10    and decide a motion that might have been avoided.
 11           No required conference between counsel occurred. Google notified Sonos that
 12    it intended to file a motion to amend on April 25, 2025, and asked whether Sonos
 13    opposed. Dkt. 79-4, Ex. 7. On April 28, 2025, Google followed up to solicit Sonos’s
 14    position. Id. That same day, Sonos replied, notifying Google that it opposed the
 15    motion but that it was available to discuss the issue further. Id. Google remained
 16    silent until it filed its Motion on May 5, 2025. The Court should either deny the
 17    motion as procedurally improper or consider Google’s failure to fully meet and
 18    confer as part of its evaluation of whether Google seeks the amendment in good faith.
 19    V.     CONCLUSION
 20           For the reasons set forth herein, Sonos respectfully requests that this Court
 21    deny Google’s Motion for Leave to Amend.
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                                                  - 15 -              Case No. 2:20-cv-00169-JAK (DFMx)
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   1   Dated: May 12, 2025                Respectfully submitted,
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